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UNlTED STATES DlsTRlcT CouRT
NORTHERN D|STR|CT OF |LLlNOIS
219 souTH DEARBoRN sTREET
cchAGo, iu_mols 60604

 

NOT|F|CAT|ON OF CHANGE OF ATTORNEY ADDRESS OR NAME

l. Complete this form and e-iile it, using the Notice of Change of Address event, in each
case that you list below.
2. Update your contact information in CM/ECF. Click HE.RE for update instructions

 

Name MICHAEL J. WOOD

Firm COMMUNITY LAWYERS GROUP, LTD

Street Addresg 20 N. CLARK STR_EET, SUITE 3100
City/State/Zip Code CHICAGO, ILLINOIS 60602
Phone Number (312) 757-1880

Email address MWOOD@COMMUNITYLAWYERSC§
ARDC (lllinois State Bar mcmbers, only) 6315345

lf you have previously filed an appearance with this court using a different name, enter that name.

List all active cases in which you currently have an appearance on tile.

 

Case Number Case Title Assigned Judge

 

 

 

 

 

 

 

 

 

 

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Signature 'of Attorney {/' Date

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